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           IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
             Plaintiff,   )
                          )
vs.                       )                 Case No. 22-CR-115-CVE
                          )
NICOLE COX,               )
             Defendant,   )

             DEFENDANT NICOLE COX’S MOTION TO JOIN IN
           THE UNOPPOSED MOTION TO DECLARE THIS CASE A
              COMPLEX MATTER AND EXTEND DEADLINES

      Defendant, Nicole Cox, through counsel, hereby requests to join the

Unopposed Motion to Declare this Case a Complex Matter and Extend Deadlines,

filed herein. (Doc. 32) In support of said motion Counsel for the Defendant states

and alleges as follows:

      1.     The Defendant, Nicole Cox was Indicted on April 19, 2022. (Doc. 1)

      2.     On May 26, 2022, Nicole Cox appeared at Arraignment, Entered a Plea

             of Not Guilty, and waived detention.

      3.     This Court had previously entered a Scheduling Order on May 24,

             2022, setting a Motions deadline of June 3, 2022, and Jury Trial July

             11, 2022. (Doc. 56)

      3.     A Motion to Declare this Case a Complex Matter and Extend Deadlines

             (Doc. No. 32) was filed on behalf of Defendant’s Jonna Elisa Steele,

             and Donald B. Pearson.
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      4.    On May 26, 2022 Counsel Michael Noland received an Email advising

            that the Court was awaiting Speedy Trial Waivers prior to ruling on the

            Motion. Counsel was further advised that the Discovery in this matter

            was voluminous.

      4.    Arguments of Counsel for the Defendants Jonna Elisa Steele, and

            Donald B. Pearson are similar to that of Counsel Noland in so much

            that at the current time Michael Noland Counsel has not received

            discovery and based on the alleged amounts of discovery will not with

            the exercise of due diligence be able to competently file Pre-Trial

            Motions in this matter, nor be prepared for trial under the current

            Scheduling Order.

      5.    The Speedy Trial Act requires that the trial commence within 70 days,

           absent period of delay excluded or specific basis defined by the Act. 18

           U.S.C. § 3161(c)(1).

      6.    To the date of filing this motion only four (4) days have run under the

            Speedy Trial Act

      7.    The Defendant, Nicole Cox has signed a Waiver of Speedy Trial in

            agreement with the Continuance of this matter of up to 120 days.
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      WHEREFORE, Nicole Cox respectfully requests that the Court enter an Order

that permits her to join in the Unopposed Motion to Declare this Case a Complex

Matter and Extend Deadlines, filed herein. (Doc. 32)



                                            RESPECTFULLY SUBMITTED,

                                            s/Michael W. Noland
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                                            Attorney for Defendant Singleton


                  Certificate of Electronic Filing and Service

       This is to certify on the 30th day of May 2022, I caused the foregoing to be
filed with the Clerk of the Court, using the ECF System for filing, and electronic
service was made, via CM/ECF to the following: David A. Nasar, Assistant United
States Attorney.

                                                   S/ Michael W. Noland
                                                   Michael W. Noland
